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   IT IS ORDERED as set forth below:



   Date: August 3, 2020
                                                     _________________________________

                                                               Jeffery W. Cavender
                                                          U.S. Bankruptcy Court Judge

 ________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      :       CHAPTER 7
                                            :
HCG SOFTWARE, LLC,                          :       CASE NO. 15-63347-JWC
                                            :
         Debtor.                            :
                                            :

      CONSENT ORDER APPROVING SETTLEMENT BETWEEN TRUSTEE AND
      WILLIAM C. SMITH, JR. UNDER RULE 9019 OF THE FEDERAL RULES OF
                         BANKRUPTCY PROCEDURE

         On June 2, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of HCG Software, LLC (“Debtor”), filed a Motion for Order

Approving Agreement Under Rule 9019 of the Federal Rules of Bankruptcy Procedure [Doc. No.

87] (the “Motion”) seeking an order approving a settlement agreement (the “Agreement”)

between Trustee and William C. Smith, Jr. (“Mr. Smith”, together with Trustee, the “Parties”)

wherein, the Parties have agreed that Mr. Smith will assume the obligation to file any additional

tax returns on behalf of the Debtor, and Trustee will be absolved of any obligation to file an




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additional tax return on behalf of the Debtor (the “Initial Agreement”) in resolution of a Tax

Consequence Dispute1 between the Parties.

          On June 2, 2020, Trustee filed a notice of requirement of response and time to file same

[Doc. No. 88] (the “Notice”) in accordance with General Order No. 24-2018 and setting a

hearing on the Motion for July 16, 2020 (the “Hearing”). Counsel for Trustee asserts that he

served the Notice on all requisite parties in interest. [Doc. No. 90].

          No objection to the Motion was filed prior to the objection deadline provided in the

Notice.

          Counsel for Trustee and counsel for Mr. Smith appeared at the Hearing. No other party

in interest appeared at the Hearing.

          Following the Hearing, and based on statements made on the record at the Hearing,

Trustee and Mr. Smith have reached a revised agreement (the “Revised Agreement”) through

which: (a) Mr. Smith will assume the obligation to prepare, sign, and file any additional or final

tax returns on behalf of the Debtor; and (b) Mr. Smith shall indemnify and hold harmless Trustee

and the Bankruptcy Estate from all expenses, losses, attorney’s fees, accountant’s fees, liabilities,

and damages that Trustee or the Bankruptcy estate incurs (i) in connection with Mr. Smith’s

filing of any additional or final tax returns on behalf of the Debtor, and (ii) in defense of any

claim, action, or proceeding arising out of or relating to Mr. Smith’s filing of any additional or

final tax returns on behalf of the Debtor.

          The Court having considered the Motion and all other matters of record, including the

statements on the record at the Hearing; and, the Court having found that good cause exists to

grant the relief requested in the Motion, it is hereby



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          Capitalized terms not defined in this notice shall have the meanings ascribed to them in the Motion.


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        ORDERED that the Motion is GRANTED, as specifically set forth herein: the Revised

Agreement is approved and its terms are incorporated herein. It is further

        ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Revised Agreement. It is further

        ORDERED that Mr. Smith shall prepare, sign, and file any additional and final tax

return of the Debtor. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Agreement, and (iii) enter such

other and further orders as may be necessary, just, or proper as an aid to enforcement or

implementation of this Order.                 [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:    /s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
    michael.bargar@agg.com
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
Telephone: (404) 873-7030

Order reviewed and consented to by:

LAMBERTH, CIFELLI, ELLIS & NASON, P.A.
Attorney for William C. Smith, Jr.

By:     /s/ Gregory D. Ellis (with express by Michael J. Bargar)
    Gregory D. Ellis
    Georgia Bar No. 245310
    gellis@lcenlaw.com
6000 Lake Forrest Drive, NW, Suite 435
Atlanta, GA 30328-3896
Telephone: (404) 262-7373




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Identification of parties to be served:

Office of the United States Trustee, 362 Richard B. Russell Federal, Building, 75 Ted Turner
Drive, SW, Atlanta, GA 30303

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
30363

Attorney General of the United States, U.S. DEPARTMENT OF JUSTICE, 950 Pennsylvania
Avenue, NW, Washington, DC 20530-0001

United States Attorney, Attention: Civil Process Clerk, Northern District of Georgia, 75 Ted
Turner Drive SW, Suite 600, Atlanta, GA 30303-3309

S. Gregory Hays, Hays Financial Consulting, LLC, 2964 Peachtree Rd, NW, Suite 555,
Atlanta, GA 30305

Robert B. Campos, Law Office of Robert B. Campos, Suite 109 - #317, 2774 N. Cobb Parkway
Kennesaw, GA 30144

Gregory D. Ellis, Lamberth, Cifelli, Ellis & Nason, P.A., 6000 Lake Forrest Drive, NW, Suite 435
Atlanta, GA 30328-3896

Internal Revenue Service, 1111 Constitution Avenue, NW, Washington, DC 20224

Department of the Treasury –Internal Revenue Service, P. O. Box 7346, Philadelphia, PA 19101-
7346

Department of the Treasury – Internal Revenue Service, P. O. Box 7317, Philadelphia, PA 19101-
7317

The Internal Revenue Service c/o Special Assistant U.S. Attorney, 401 W. Peachtree Street,
Stop 1000-D, Atlanta, GA 30308

Internal Revenue Service, 401 W. Peachtree St. NW, Stop 334-D, Atlanta, GA 30308-3539




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